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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                             20 Cr. 236 (KPF)

BRIAN SMITH,                                             ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      The parties are directed to appear for a change of plea hearing on

January 25, 2021, at 11:00 a.m. The hearing shall take place by video.

Instructions for accessing the videoconference will be shared in advance of the

hearing, and the Court will confirm the date and time the week before the

hearing.

      SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                             KATHERINE POLK FAILLA
                                            United States District Judge
